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                        Exhibit 5
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x
                                                                                       :
BENTHOS MASTER FUND, LTD.,                                                             :
                  - against -                                                          :
                                                                                       :
                                                            Petitioner,                          Case No. 20-cv-03384 (VEC)
                                                                                       :
                                                                                       :
                                                                                                 RESPONDENT’S
                                                                                       :
                                                                                       :         RESPONSES TO
AARON ETRA,
                                                                                       :         PETITIONER’S
                                                                                                 DOCUMENT SUBPOENA
                                                             Respondent.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x


I, Aaron Etra, submit the following:


RESPONSES TO PETITIONER’S INFORMATION SUBPOENA DATED AUGUST 2, 2022:
   1)       (i)
             a. Day Law & Associates P.C. (Piermont 2292),
                Day Law & Associates P.C., Day Law & Associates, P.C., 15055 SW Sequoia Parkway, Suite
                170, Portland, Oregon 97224;
                The business with them was as an Escrow Agent to oversee a Loan Agreement and disburse
                funds, and to set up an entity as need be, should they wish to disburse their funds
                elsewhere. They paid the registration fee.

             b. Renato Corzo (Piermont 2292)—Was to do Escrow/Coordinator work for his fuel oil
                company. No business materialized to the best of my recollection even with funds
                available; they did however send a registration fee which was sent from their overseas
                account, and when the amount landed in the Piermont escrow, after conversion fees, was
                $136. .

             c. Goldfinger Enterprise SL (M&T 7045) $146.37
                Polig. Ind. Abanilla nave 3, 30.640 Abanilla
                (Murcia), España
                Francisco Martinez
                 No actually business materialized with them; they did however send a registration fee
                which was sent from their overseas account, and when the amount landed in the Piermont
                escrow, after conversion fees, was $146.37.

             d. Charles L. Weinstein ITF Marlene Mar (M&T 7045) $150
                To the best of my knowledge, no actually business materialized with them; they did
                however I believe send an initial registration fee of $150.

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    e. Fisher Enterprise (M&T 3441)

    f.   Oceanix Inc. (M&T 3441)

    g. Steven Kavanagh (M&T 3441)

    h. Novavis Medical AG (M&T 3441)

    i.   Pound International Sender (M&T 3441)

    j.   Michael E. Bagley (M&T 3441)
         Individual: Michael E. Bagley, 9 Fanshaw AmBoca Raton, Florida 33434

    k. Alba Lucia Giraldo (M&T 3441)

    l.   Pass LLC (M&T 3441)

    m. Desmond Hinds (M&T 3441)

    n. Konrad Jan Banasiak (M&T 3441)

    o. Borna Tomicic (M&T 3441)

         Individual: Mr. Borna Tomicia, Lipovac III No.2,10000 Zagreb, Croatia

    p. Tennessee Bar Foundation (M&T 3441)

    q. Ultima Racing Stable PTE Ltd. (M&T 3441)

         Ho Ming Hao and Sui Fong Jennie Yeung, Kemp House, 160 City Road, London ECIV- 2NX

    r.   Fiscal Asset Management Europe Pty (M&T 3441)

         Michael James Italiano, 4/167 The Boulevarde, Fairfield Heights 2616 NSW Australia

    s. George Patrick Creamer

         Patrick Creamer, CFO, Centennial Energy Company Limited, 168 North Road Lower
         Beechmont Queensland 4211 Australia

    t.   George Michael Du Ploy (M&T 3441)

    u. Timothy L. Sanford (M&T 3441)

    v. Incept Holdings BVI Ltd. (M&T 3441)

    w. Charles Nastasi (M&T 3441)

    x. Eric Valdes (M&T 3441)

    y. Puerta Del Pacifico (M&T 3441)

    z. DIZA Marine Services and Surveys (M&T 3441)

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        Captain Fitzroy Dorant, Managing Director, Kitaraweg #4, Santa Rosa, Curacao

        +599-9-5400813 diazmarine@hotmail.com

    aa. Harold Wright Peavy (M&T 3441)

    bb. John R. Watkins (M&T 3441)

    cc. Peavy & Co., Inc. (M&T 3441)

    dd. Valarie Baptiste Irrevocable Private Trust (M&T 3441)

    ee. Razur 7711 LLC (M&T 3441)

    ff. Ian R. S. Jordan

        Owner & Director of Vanor Capital Resources Limited, 1 Ellis Court, Hemingfield Road,
        Hemingfield, S73 0PQ UK

    gg. Solveig White, RSW Business Systems

    hh. Media Leader LLC

        Owner/director: Adam Klein, 350 CPW #2E, New York, NY 10025

    ii. E. Sebastian Santos

          Euclides Sebastian Saltos Alban, 325 Roosevelt Blvd, Hempstead, NY 11552

    jj. Luis Manuel Cabrita Penisga

        Rua Carvalho Freirinha No. 612-1 esq, 2800-678 Almada, Portugal

    kk. Laima Khan

        Oxform Medwell Limited, 52 Clarendon Business Centre, Commarket Street, Oxford OX1
        3HJ

    ll. Sort Mao

        5863 Linden Avenue, Long Beach, CA 90805

    mm.     Kuam Inversiones

        CEO Rudolfo Eduardo Diaz Vilva, Jiron Carabayo N. 928, Officina No. 207, Lima, Peru,

             South America

    nn. Gordon Oliver

        Owner of SISA, Inc., 470 Trumpeter Road, Lelowna, B.C. Canada V1W 514

    oo. Oleksandr Arbetov

        Oleksandr Arbetov, 941 West 20th Avenue, Vancouver, BC V5Z1Y4


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ii. services performed for each individual. [Services included escrow and paymaster services for
transactions when and if required; many listed in (i) above next to name]

iii. Payment for all services were for Aaron Etra, Esq. only. [see bank accounts already supplied for
compensation which Piermont Bank account ending in #2292, and M&T 7045 and 3441 refer].

iv. Where such compensation was paid to: Piermont Bank account ending in #2292, and M&T 7045
and 3441.

v. Subsequent transfers: They were used to pay bills in the normal course of living or working. The
monthly expenses are paid in the same way, as funds allow, each month.

vi. The current whereabouts of such compensation: The monies have been already spent on living and
working expenses.

2. Current living monthly expenses:

    •   Rental for apartment:    $4,100 per month
                                  [the amount of arrears due as of October 1, 2022 is $100,000
                                   and need to make payments to avoid eviction]
    •   Groceries/Food/supplies: $750-$950
    •   Health / Dental Insurance: $300
    •   Medications: $100
    •   Internet service: $250
    •   Cell phone: $200
    •   Office Rental: $282
    •   Transportation: $75-300
    •   Credit Card Payments monthly: $750-1500 [to include arrear payments]
    •   Apartment Cleaning and laundry and dry cleaning: $500

3. Sources from which you paid your monthly expenses:

   Social Security income which is deposited into Piermont Bank account ending in #0362

  Client payments earned and having been deposited into Piermont Bank account ending in #2060;
M&T ending in 3433

4. List all bank accounts where you have had an interest

  The bank accounts for which I have an interest are attached

5. Name on each bank account, date opened, etc.

  The names on the account are on the bank accounts submitted under documents. As to the details of
opened dates, the information is contained on the opening statement on most of attachments.

6. List all credit cards etc., since August 2017

  HSBC, Apple Card, AMEX, Barclays, and Barclays/Old Navy.

7. Exact name on credit card, date opened, etc.
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        HSBC: Aaron Etra name on credit card, opened approximately 2016? ,

               credit card number ending in X0136

              $22,000      credit card limit at closing balance was approximately $18,000

        Apple Card: Aaron Etra name on credit card, opened September 2021,

                      credit card number ending in 6423, signatory: Aaron Etra; credit limit $140

        AMEX: Aaron Etra name on credit card, opened March 1971,

                credit card number ending in 4005, signatory: Aaron Etra, credit line not determinable.

        BARCLAYS: Aaron Etra name on credit card, opened May 2022, name on card: Aaron Etra,

                credit limit $5,000.

        BARCLAYS/OLD NAVY: Aaron Etra name on credit card, opened July 2021,

                name on card: Aaron Etra, credit limit: $300.

8. Any person with personal knowledge who knows assets or money controlled by Etra:

  Other than myself, there is no other person that knows my assets/money controlled by me.

9. Persons who assisted or purported information for these information documents and for Court
orders:

The only person or persons who assisted in giving me the information for this information subpoena
would be myself. For the information and the documents that I provided for the orders from Judge
Caproni or the other Judges, was either from my records or from various banks, HSBC, Piermont, M&T,
and CITIBANK, for the missing bank statements that were no longer in my possession, and from Mag.
Helmut Allesch for his information on his Fiduciary European accounts as already supplied to the Court
and petitioner. The addresses for these persons are as follows:

      • Aaron Etra, 240 East 47th Street, Apt. 12A, New York, NY 10017

      • Mag. Helmut Allesch, Wirthschaftstreuhander, A-9020 Klagenfurt am Worthersee,
                      Gabeksbergerstrasse 2, Steuerberater, Klagenfurt, Austria.


Submitted this 7th day of October, 2022:



Aaron Etra
240 East 47th Street, Apt. 12A, New York, NY 10017
cc. S.Popofsky, Esq



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